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                                                                                    INTERPRETER
                                U.S. District Court
                         Southern District of Florida (Miami)
                CRIMINAL DOCKET FOR CASE #: 1:19−mj−02665−AOR−1

    Case title: USA v. Rojas−Bascope                        Date Filed: 04/30/2019
                                                            Date Terminated: 09/22/2020

    Assigned to: Magistrate Judge Alicia M.
    Otazo−Reyes

    Defendant (1)
    Victor Rojas−Bascope
    18114−104
    YOB 1970 SPANISH
    TERMINATED: 09/22/2020

    Pending Counts                            Disposition
    None

    Highest Offense Level (Opening)
    None

    Terminated Counts                         Disposition
    None

    Highest Offense Level (Terminated)
    None

    Complaints                                Disposition
    21:U.S.C.§960 DEFENDANT
    CONSPIRED TO MANUFACTURE,
    POSSESS WITH INTENT TO
    DISTRIBUTE, AND DISTRIBUTE FIVE
    KILOGRAMS AND MORE OF
    MIXTURES AND SUBSTANCES
    CONTAINING A DETECTABLE
    AMOUNT OF COCAINE AND
    18:U.S.C.§1965 MONEY LAUNDERING
    OFFENSE AFFECTING INTERSTATE
    AND FOREIGN COMMERCE



    Plaintiff
                                                                                                  1
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    USA                                          represented by Noticing AUSA CR TP/SR
                                                                Email: Usafls.transferprob@usdoj.gov
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Retained

     Date Filed   # Page Docket Text
     04/30/2019   1       Magistrate Removal of Indictment from SOUTHERN DISTRICT OF NEW
                          YORK Case number in the other District S7−19−CR−11 as to Victor
                          Rojas−Bascope (1). (at) (Entered: 04/30/2019)
     05/01/2019   2       ORDER UNSEALING CASE as to Victor Rojas−Bascope. Signed by Magistrate
                          Judge Alicia M. Otazo−Reyes on 5/1/2019. See attached document for full
                          details. (cg1) (Entered: 05/02/2019)
     08/26/2020   3       Minute Order for proceedings held before Magistrate Judge Alicia M.
                          Otazo−Reyes: Status Conference re Initial Appearance as to Victor Rojas held on
                          8/26/2020. Deft consents to VTC. AUSA states that this case should not have
                          been placed on calendar for IA. AUSA to speak to defense counsel Ana Davide
                          about necessity of removal hearing. Spanish Interpreter present. (Digital
                          13:15:18) Signed by Magistrate Judge Alicia M. Otazo−Reyes on 8/26/2020.
                          (dgj) (Entered: 08/27/2020)
     09/16/2020           Set/Reset Hearings as to Victor Rojas−Bascope: Removal Hearing set for
                          9/18/2020 11:00 AM in Miami Division before MIA Duty Magistrate. (sl)
                          (Entered: 09/16/2020)
     09/18/2020   4       Minute Order for proceedings held before Magistrate Judge Jacqueline Becerra:
                          Defendant agrees to VTC. Counsel States deft., speaks ENGLISH.Status
                          Conference in re:Removal defendant waives removal. Ordered Removed to the
                          S/D New York as to Victor Rojas−Bascope held on 9/18/2020. (Digital
                          JB−01−9/18/20−ZOOM) Signed by Magistrate Judge Jacqueline Becerra on
                          9/18/2020. (nf) (Entered: 09/22/2020)
     09/22/2020   5       COMMITMENT TO ANOTHER DISTRICT as to Victor Rojas−Bascope.
                          Defendant committed to District of Southern District of New York.. Closing Case
                          for Defendant. (Signed by Magistrate Judge Jacqueline Becerra on 9/18/2020).
                          (See attached document for full details). (at) (Entered: 09/22/2020)




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     DNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEK YORK
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     UNITED STATES OF AMERICA
                                                            SEAL>D I&Dlcm-RNT
                                                                      '
                                                            57 19 C           !
     VICTORROJAS      -   BASCOPE,
                                                                  r.'l
                                                                     kk
                                                                          )
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                           Defehdànt.

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                                                        e
                                            CONNT 0NE

                    The Grand Jury chargeA :

                           From at 1east in bt about Junë 2017, <> to and
    ineluding the date of the filing of thig Indictmqnb , in Bolivia

    and elsewhere, and in ap offense begun ahd dommittûd out of the
    jurisdiction of any particular State or distric*, VICTOA ROJAS-
    BASCOPE, the defehdant, w:ö will be first bröûlht to an;
    arreéted in thê bouthern District of &e* York , and otherà knöwn

    qnd unknown, intdntionally ahd knowingly combined, eopsp ired,

    confederated, and agreèd togethfr and with each öther to viölate

    the narcotics laws of the United ttates.

                          It was a part an; àn object of the conspiràcy
    that VICTOR RUJAV-ZASCU/E, the defendant, and othprs knowq and
   uhknown, would apd did Manufactute, poasess with intent to

   distribute, and distribute a controlled substancef intendingz

   knowihg, and Havihg rtasohabll cause t4 believe that such




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     substance would be unlawfully imported into the United States

     and into waters within a distance of 12 miles of the coast

     the United States from a place outside thereof, in violation of

     Title 21, United States Code, Sections 959(a) and 96O(a)(3).
                      The controlled substance that VICTOR ROJAS-

    BASCOPE, the defendant, cönspired to manufacture, possess with

    intent to distribute, and distribute , was five kiàograms and

    nore of mixtures and substances containing a detectable amount

        cocaine,      violation of Title 21, United States Code,

    Section 960(b)(1)(B)(ii).
       (Title 2l, United States Code, Sections 812, 959(a), 959(d),
      960(a)(3), and 963(b)(l)(B)(ii); Title 18, United States Code,
                              section 3238.)
                                     COUNT 2W0

               The Grand Jury further charges:

                     From at leas: in or about June 2017 , up to and

    including the date of the filing of this Indictment, in Bolivia,

   the Southern District of New York , and elsewhere, and in an

   offense begun and committed out of the jurisdiction of any
   particular State or district, VICTOR ROJAS-BASCOPE , the

   defendant, who will be first brought to and arrested in the

   Southern District of New York, and others known and unknown ,

   intentionally and knowingly combined, conspired, confederated ,

   and agreed together and with each other to commit a money




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     laundering offense in violation of Title 18, United States Code ,

     Section 1956.

                      It was a part and an object of the conspiracy
     that VICTOR ROJAS-BASCOPE , the defendant, and others known and

    unknown, in an offense involving and affecting in terstate and

    foreign commerce, would and did transport, transmit , and

    transfer, and attempt to transport, transmit, and transfêr a

    monetary instrument and funds from a place in the United States

    to and through a place outside the United States, and to a place

    in the United States fron and through a place outside the United

    states, with the intent to promote the carrying on of specified

   unlawful activity -- to wit,           the conspiracy to manufacture ,

   possess with intent to distribute, and distribute cocaine

   intending and knowing that such substance qould be unlawfully
   imported into the United States, charged in Count One of this

   Indictment, and (b) offenses against a foreign nation involving

   the manufacturez.importation , sale, and distribution of a

   controlled substance -- in violation of Title 18, United States

  Code, Section l956(a)(2)(A).
        (Titlè 18, United States Code, Sections 1956(h), 1956(i),
                                   axu aray.)




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                      poRgazTuRs AttssATzou As To couxT oxs
                       As a result of committing the controlled

     substance offense alleged in Count One of this Indictment,

     VICYOR ROJAS-BASCOPE, the defendant, shall forfeit to the United
     States, pursuant to Title 21, United States Code , Sections 053

     and 970, any and a1l prop erty constituting or derived from any

     proceeds obtained directly or indirectly as a result of said

     offense and any and a1l property used or iptended to be used in

     any manne/ or part to commit or to facilitate the eommission of

     said offense that the defendant personally obtained .

                     FORFEITURE ALLEGATION AS TO COUNT TW O

                      As a result of committing the offense alleged in

    Count Two of this Indictmenè, VICTOR ROJAS-BASCOPE, the

    defendant, shall forfeit to the United States, pursuant to Title

    18, United States Code, Section 982(a)(l), any and all property,
    real and personal , involved in said offense, or any property

    traceable to such property , including but not limited to a sum

    of m6ney in United S:ates currency representing the amount of

    property involved in said offense .




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                            Substitute Assets Provision

                       If any of the prop erty described above as being

     subject to forfeiture, as a result of any act or omission of the

     defendant :

                            cannot be located upon the exercise of due
                            diligence;

                      b.    has been transferred or sold to, or
                            deposited with , a Lhird person;

                            has been placed beyond the jurisdiction of
                            the Court;

                      d.    has been substantially diminished in value ;
                            or

                            has been commingled with other property
                            which cannot be subdivided without
                            difficulty;

        is the intention of the United States, pursuant to Title 21,

    United States Code, Sections 853(p) and 970,             seek forfeitu/e

    of any other property of the defendant up to the value of the

    above forfeitable property .

                (Title 18, United States Codè, Section 9827
          Title 21, Upited Staies Code, Sections 853 and 970; and
               Title 28, United States Code, Section 2461.)


                                                          V.         u-
    FOREPERSO                                GEOFFR      . BERM AN
                                             United S ates Attorney




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



                             UNITED STATYS OF AMERICA

                                                     %
                              VICTOR ROJAS-BASCOPZ,




                                                                     '
                                                                     ii
                                                  Defendant .



                                 SEALED INDICYMENT
                                     57 19 Cr .

                      (21 U .S.C . 55 959, 960, and 9637 and
                          18 U.S.C. 55 1956'and 3238.)




                                            GEOFFREY S . BERMAN
                                       United States Attorn ey .


                                   ATRUEY sc

                                          '
                                                     Forep erson .




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                           IJNITED STATES DISTRICT COURT
                           SOU TH ERN D ISTRICT OF FLO RID A

                                    CASE NO.19-2665-A0R

 UN ITED STA TES OF A M ERICA



 VICTOR ROJAS,
   a/k/aVictorRojas-Bascope,
       Defendant.




       OnApril26,2019,the DefendantVICTOR ROJAS aIVaVictorRojas-Bascopehad his
 -nitial appearance on an lndictm ent captioned, United States of Am erica v. Victor Roias-
 1

 Bascope,S7 19Cr.91(SouthernDistrictofNew York)thatwasreturned intheSouthern District
 ofNew York. TheU .S.Attorney'sOfficeforthe Southern DistrictofFlorida madean ore tenus

m otion to unsealtheSouthern DistrictofNew York Indictm ent.

       Having considered the Govenunent'sm otion,

       IT IS HEREBY OIID ERED thatthe Indictmentin United States of Am erica v. V ictor

Roias-Bascope,57 19Cr.91(SouthernDistrictofNew York)isUNSEALED          .



       DONE AND OO ERED in M iam i, FloridathislX-h dayofM ay, 2019.




                                       ALlèIA M .o'
                                                  rAzo-ltsvcs
                                       UN ITED STA TES M A G ISTRA TE JU D G E
cc.   Tim othy J.A braham ,A U SA




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                                                  M INUTE ORDER                                                                        &                   page;
                                   M agistrate ludge A licia M .O tazo-Reyes
                        AtkinsBuildingcourthouse-10th Floor                                        Date:8/26/20                            Time:1:30p.m.
    Defendant: VICTOR ROJAS-BASCOPE                  J#: 18114-104    Cas         : 19-2665- J-AO R
                 %
    AUSA:                                                      Attorney:                                                  ..
                                                                                                                                            .
    violation:S/D/NY/WAR DICT/PWIDCONTROLLDSUBSTANCE                 Surr/ArrestDate:8 /2020                                               YOB:                0
                 KNOW ING IT     ULD IM PORT INTO U.S.

    Proceeding: InitialAppearance                                         CJA Appt:
    Bond/PTD Held:C Yes C No                    Recomm ended Bond:
'   Bond Setat:                                                           Co-signed by:
                                                                                                                       >                               .
     C Surrenderand/ordo notobtain passports/traveldocs                               Language'
                                                                                              .
                                                                                                                           '       '
                                                                                                                                               -       .




     C Reportto PTSas directed/or                        x'saweek/monthby             Disposition'
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          phone:               x'saweek/monthinperson                                  AmendedJ&C8 20/2020 in 19 CR-                                           -

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     C Services                                                                        20141-JLK
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     C Refrain from excessive use ofalcohol                                                                                    oo                                             1
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     T*' Participateinmentalhealthassessment&treatment                                 l            'f'
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     C Maintainorseekfull-timeemployment/education                                                                    '                            qz ''.                     i
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     C- Nocontactwithvictims/witnesses, exceptthroughcounsel                           Z:
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NEXT COURT APPEARANCE            oate:            Tim e:         Jud e:                                                Place:
ReportRE Counsel: -                                                                   l.
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Prelim/ArraignorRemoval:                                                  -                                                                '
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                                          s/Alicia M .Otazo-Reyes                      M agistrateJudge
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                                    United States District Court
                                    Southern District of Florida
                                  Case No. 19-2665-MJ-OTAZO-REYES


UNITED STATES OF AMERICA,

     v.
                                               Charging District's Case No. S7-19-CR-11


Victor Rojas-Bascope,
(USM# 18114-104)
                                       /

                               COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the Southern District of New York.

                             Ana Davide Esq.                           was     present       to    represent

Defendant for proceedings in this District.
     The defendant remains in custody after the initial appearance in the Southern District of Florida.
     The defendant waived his right to a removal hearing, and stipulated to pretrial detention until
     such time as his detention hearing is held in the Southern District of New York.
          IT IS ORDERED that the United States marshal must transport the defendant, together with a

copy of this order, to the charging district and deliver the defendant to the United States marshal for that

district, or to another officer authorized to receive the defendant. The marshal or officer in the charging

district should immediately notify the United States attorney and the clerk of court for that district of the

defendant=s arrival so that further proceedings may be promptly scheduled. The clerk of this district must

promptly transmit the papers and any bail to the charging district.
       DONE AND ORDERED at Miami, Florida on 9/18/2020.



                                                       Jacqueline Becerra
                                                       United States Magistrate Judge




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